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NORTHERN DISTRICT OF OHIO 1/1/92
CASE MANAGEMENT CONFERENCE
MINUTE SHEET
CASE MANAGEMENT CONFERENCE HELD BEFORE JUDGE DONALD C. NUGENT ON AUGUST 23, 2018
JunlclAL OFFlcER
Endless River Technologies LLC, CASE NO. 1:18 CV 936
Plaintiff(s),
v_.
Tran$ Unjon LLC_ JUDGE: DONALD C. NUGENT
Defendant(s).

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lF YES, BY WH|CH ADR PROCESSESZ

Neutral m Mediation [| Arbitration l:| Summa_ry [:| Summary |:,

Eva nation Jury Tria| Bench
Trial

ADR PROCESS TO BE COMPLETED BYZ

 

 

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Length of Proceeding: 20 tug 1 g 13 l

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